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                                                           U.S. Department of Justice
                                                           Civil Division




                                                           June 17, 2025

By ECF
Honorable Michael E. Farbiarz
United States District Judge
U.S. Post Office & Courthouse
Federal Square
Newark, New Jersey 07101

         Re:      Khalil v. Trump, et al. , Civ. Act. No. 25-1963 (MEF) (MAH)
                  Government’s Response to ECF Nos. 308, 309

Dear Judge Farbiarz:

       Respondents (the “Government”) submit this letter in response to the Court’s Order, ECF
No. 309, and to Petitioner Mahmoud Khalil’s letter regarding his motions seeking release and transfer,
ECF No. 308.

    I.         The Court Should Deny Khalil’s Motion for Release Because He Failed to
               Challenge an Independent Basis for his Detention.

         Khalil remains detained because he is currently charged as removable for fraudulently or
willfully misrepresenting material facts on his adjustment of status application. See ECF No. 304.
Khalil seeks to rehash the arguments in his motion that this Court already denied on Friday, June 13,
2025. But he provides no basis for this Court to reconsider its prior order. Khalil’s second removability
charge independently justifies his continued detention, and therefore, his motion seeking release
should be denied.

        As a threshold matter, the Court should deny the motion to release because the Court has
already determined that Khalil’s detention remains lawful. See ECF No. 306. Khalil’s instant request is
this akin to a motion for reconsideration—without attempting to satisfy the demanding standard that
governs such requests. Specifically, Khalil fails to direct the Court to any matter or controlling
decisions that the Court may have overlooked, and that alone is sufficient to deny reconsideration. See
L. Civ. R. 7.1(i); see also Bowers v. Nat’l Collegiate Athletic Ass’n, 130 F.Supp.2d 610, 612 (D.N.J. 2001)
(“The word ‘overlooked’ is the operative term in the Rule.”). Indeed, Khalil concedes that there is
nothing new for this Court to consider. See ECF No. 308 at 1–3 (citing to filings that predate the
Court’s June 13 order).

         In any event, this Court should not order Khalil’s outright release, because doing so would
impede on the Government’s discretionary decision to detain him on lawful independent grounds.
Congress barred judicial intervention over those decisions. See 8 U.S.C. § 1226(e); see also ECF No. 99
at 22–25. This Court previously recognized that this limitation could affect its jurisdiction to grant
release. See ECF No. 214 at 106 n.73. The Government renews those arguments here.
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         Substantively, Khalil does not make out his case for release. The Government can and does
continue to detain him pursuant to his second removability charge and the well-established process
Congress set up to govern the detention and release of aliens subject to removal proceedings is not
constitutionally infirm, as Khalil now seems to claim. Congress authorized detention of aliens and
gave the Executive significant discretion in that regard. See 8 U.S.C. § 1226(a) (providing that “an alien
may be arrested and detained pending a decision on whether the alien is to be removed from the
United States”); Borbot v. Warden Hudson Cnty. Corr. Fac., 906 F.3d 274, 275 (3d Cir. 2018). As the Third
Circuit has recognized, detaining aliens pending removal proceedings is an important governmental
interest. See Hope v. Warden York Cnty. Prison, 972 F.3d 310, 328–29 (3d Cir. 2020) (recounting Supreme
Court precedent that established the important governmental interest related to immigration
detention). And this Court determined that Khalil failed to submit any factual evidence and did not
make any meaningful arguments as to why that removability charge would not justify his continued
detention. See ECF No. 306.

          Khalil is also improperly attempting to circumvent the administrative process that is well
established and is currently available to him as with any other person subject to removal and that he
has not completed. Khalil is free to seek a custody determination before the immigration court and
obtain release administratively. Specifically, he can request a custody determination before an officer
of the Department of Homeland Security. 8 C.F.R. § 236.1(c)(8). The officer may “in [his] discretion,
release an alien” provided that the alien demonstrates to the satisfaction of the officer that “the alien
is likely to appear for any future proceeding.” 8 C.F.R. § 236.1(c)(8). If ICE determines that detention
during the pendency of removal proceedings is necessary, Khalil may request a custody
redetermination hearing (colloquially called a “bond hearing”) before an immigration judge (“IJ”). See
8 C.F.R. §§ 236.1(d), 1003.19, 1236.1(d). IJs have broad discretion in deciding whether to release an
individual on bond. Matter of Guerra, 24 I. & N. Dec. 37, 39 (BIA 2006). IJs consider multiple
discretionary factors, including any information that may be deemed relevant. Id. at 40. Khalil may
seek further administrative review of a bond determination before the Board of Immigration Appeals
at any time before a final order of removal. 8 C.F.R. §§ 1003.1(b)(7), 1003.19, 1003.38, 1236.1(d).
These procedures are lawful and apply to every alien seeking release from custody during immigration
proceedings. Upon information and belief, Khalil requested a custody determination before ICE on
Friday evening, after this Court had already denied his request for release. That request was denied on
Monday, June 16, 2025, after he filed his letter before this Court. Upon information and belief, Khalil
has never sought to a custody redetermination before the IJ.

        Khalil requests that this Court interject and preempt these processes and rule on these issues
in the first instance. See ECF No. 308 at 2. But this Court should decline to grant relief when
administrative avenues are available See Jean-Claude W. v. Anderson, No. 19-16282, 2021 WL 82250, at
*2 (D.N.J. Jan. 11, 2021) (declining to reach due process challenge in habeas action because petitioner
had not “exhausted all available administrative remedies”) (citing Yi v. Maugans, 24 F.3d 500, 503–04
(3d Cir. 1994); Okonkwo v. INS, 69 F. App’x 57, 59–60 (3d Cir. 2003)); Jelani B. v. Anderson, No. 20-
6459, 2020 WL 5560161, at *2 (D.N.J. Sept. 17, 2020) (similar).

    II.     The Court Should Deny Khalil’s Transfer Motion.

        The Government renews its arguments why the Court should deny Khalil’s request for a
transfer. See ECF No. 97. At the outset, multiple jurisdictional bars foreclose Khalil’s transfer requests.



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See ECF No. 97 at 8–11. The Government acknowledges that the Court rejected arguments related to
8 U.S.C. §§ 1252(g) and (b)(9). See ECF No. 214. Further, Section 1226(e) precludes this Court from
managing the detention of Khalil. See supra. But a separate jurisdictional bar further forecloses Khalil’s
request to be transferred to New Jersey. See 8 U.S.C. § 1252(a)(2)(B)(ii). As the Government previously
explained, the Department of Homeland Security “‘necessarily has the authority to determine the
location of detention of an alien in deportation proceedings . . . and therefore, to transfer aliens from
one detention center to another.’” Calla-Collado v. Attorney Gen. of U.S., 663 F.3d 680, 685 (3d Cir. 2011)
(quoting Gandarillas–Zambrana v. Bd. of Immigration Appeals, 44 F.3d 1251, 1256 (4th Cir. 1995)).
Congress granted this discretionary authority to the Executive. See CoreCivic, Inc. v. Murphy, 690 F. Supp.
3d 467, 472 (D.N.J. 2023) (citing 8 U.S.C. § 1231(g)). And courts within this circuit have concluded
that Congress thereby foreclosed judicial review of such decisions. See, e.g., Jane v. Rodriguez, Civ. Act.
No. 20-5922, 2020 WL 10140953, at *1-2 (D.N.J. May 22, 2020) (declining to “impose its own
judgment as to when and how DHS should exercise its statutorily protected discretion to choose the
place of detention of detainees”); Fattah v. Sabol, Civ. Act. No. 08-1325, 2008 WL 2914856, at *1 (M.D.
Pa. July 24, 2008) (noting that when § 1231(g)(1) is read in conjunction with § 1252(a)(2)(B)(ii), “there
is a question as to whether this Court has jurisdiction to review” a discretionary decision made under
§ 1231). These courts do not sit alone. See, e.g., Salazar v. Dubois, No. 17-cv-2186, 2017 WL4045304, at
*1 (S.D.N.Y. Sept. 11, 2017) (concluding that the district court “does not have authority to issue an
order to change or keep [an alien] at any particular location”); Zheng v. Decker, No. 14-cv-4663, 2014
WL 7190993, at *15-16 (S.D.N.Y. Dec. 12, 2014) (denying petitioner’s request that the Court order
ICE not to transfer him to another jurisdiction, holding that § 1231(g) transfer authority “is among
the [Secretary of Homeland Security’s] discretionary powers”); Jacquet v. Hodgson, No. CIV.A. 03-
11568, 2003 WL 22290360, at *1 (D. Mass. Oct. 6, 2003) (holding that a court is “without power to
prevent transfer of a plaintiff” because the“[Secretary of Homeland Security] shall arrange for
appropriate places of detention” under § 1231(g), and “no court shall have jurisdiction” under §
1252(g) “to hear any cause or claim” arising from the discretion granted to the Secretary); Avramenkov
v. INS, 99 F. Supp. 2d 210, 213 (D. Conn. 2000) (refusing to grant petitioner’s request for an injunction
to prevent transfer because “Congress has squarely placed the responsibility of determining where
aliens are to be detained within the sound discretion of the Attorney General”).

         If the Court does not agree with these jurisdictional bars, then Khalil’s claim also fails on the
merits. Khalil’s letter remains unclear as to whether he alleges violations of the Performance-Based
National Detention Standards (“PBNDS”). Compare ECF No. 308 (not mentioning PBNDS), with
ECF No. 308-1 at 8 (relying on the PBNDS). To the extent that he does, his Accardi challenge fails
for the same reason that his challenge to ICE Directive 11064.3 fails: they are policies or guidelines,
not regulations. See Wright v. F.B.I., No. CIV.A. 02-915, 2006 WL 2587630, at *10 (D.D.C. July 31,
2006), on reconsideration, 598 F. Supp. 2d 76 (D.D.C. 2009) (“To be given the force and effect of law, a
regulation must prescribe ‘substantive’ or ‘legislative’ rules rather than merely ‘interpretive rules,
general statements of policy, or rules of agency organization, procedure, or practice.’”) (quoting
Chrysler Corp. v. Brown, 441 U.S. 281, 301 (1979)).

        Even if the Court looks to the merits of the directive and the PBNDS, Khalil misreads both.
First, he misconstrues the directive and makes no attempt to argue that it should apply to him. ICE
Directive 11064.3 defines “Covered Individual” as individuals who are: (1) primary caretakers or have
custody of a minor child in the United States; and/or (2) those who have direct interest in family,
probate, guardianship, or child welfare proceedings involving a minor child. See ICE Directive 11064.3,
Interests of Noncitizen Parents and Legal Guardians of Minor Children or Incapacitated Adults, § 3.1,



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https://www.ice.gov/doclib/news/releases/2022/11064.3.pdf (last visited June 16, 2025).
Notwithstanding ICE’s explanation that he is not a “covered individual,” Khalil makes no attempt to
contest that assertion here. See ECF No. 308-1.

         Moreover, when discussing initial detention placement, the directive does not prevent ICE
from detaining Khalil in Louisiana. ICE Directive 11064.3 § 5.3(3) (requiring ICE to “consider transfers
outside the [Area of Responsibility (“AOR”)] of initial apprehension or to a facility within the AOR
that is closer to the location of the minor child[.]”). The directive confirms that ICE retains discretion
to detain Khalil where it so chooses. Additionally, factual considerations counsel against transferring
Khalil to Elizabeth. Simply, the facility is over capacity. Declaration of Arthur J. Wilson, Jr. (“Wilson
Decl.”), ¶ 3. The facility has a bedspace capacity of 304, but the current occupancy is 355. See id. ¶ 4.
Although the facility is currently meeting applicable detention standards, ordering a transfer would
undoubtedly affect the facility’s continued efforts to fall back within operational norms. See id. ¶¶ 3, 4.

        Finally, Khalil states that the Elizabeth Detention Center allows for contact visits. See ECF
No. 308 at 4. That is incorrect. See Elizabeth Contract Detention Facility,
https://www.ice.gov/detain/detention-facilities/elizabeth-contract-detention-facility (last visited
June 16, 2025) (“All family or other social visits are Non-contact.”). The PBNDS affords facilities
discretion when trying to accommodate contact visitation. See U.S. Immigration and Customs
Enforcement, Performance-Based National Detention Standards 2011 § 5.7.V.B. (2011, rev. 2016)
(“Each facility administrator shall decide whether to permit contact visits, as appropriate for the facility’s
physical plant and detainee population.”) (emphasis added). The administrator may make exceptions
but only on a case-by-case basis. Id. The PBNDS therefore permits the facility administrator to
accommodate requests, but nothing requires an exercise of that discretion. See U.S. Immigration and
Customs Enforcement, Performance-Based National Detention Standards 2011 § 5.7.V.I.2(b) (2011,
rev. 2016) (“Facilities that allow visitations by minor children … should try to facilitate contact visitation
when possible.”) (emphasis added). Therefore, transferring Khalil to Elizabeth would not alter the
status quo when it comes to contact visits.

      For the reasons previously argued and the aforementioned reasons, the Court should deny
both motions.

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                                  Respectfully submitted,

                                  BRETT A. SHUMATE
                                  Assistant Attorney General
                                  Civil Division

                                  YAAKOV M. ROTH
                                  Principal Deputy Assistant Attorney General

                                  DREW C. ENSIGN
                                  Deputy Assistant Attorney General

                                  ALANNA T. DUONG
                                  Senior Litigation Counsel

                                  s/ Dhruman Y. Sampat
                                  DHRUMAN Y. SAMPAT
                                  Senior Litigation Counsel
                                  Office of Immigration Litigation
                                  General Litigation and Appeals Section
                                  PO Box 878, Ben Franklin Station
                                  Washington, D.C. 20044
                                  dhruman.y.sampat@usdoj.gov




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